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CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK: PART JURY 5

 

xX
THE PEOPLE OF THE STATE OF NEW YORK
-against- DECISION AND ORDER
DOCKET NO.: 2013NY050589
HELEEN MEES,
Defendant.
X

 

STEVEN M. STATSINGER, J.

Defendant was charged with Menacing in the Second Degree, in violation of Penal
Law §120.14(2), Stalking in the Third Degree, in violation of Penal Law §120.50(3),
Aggravated Harassment in the Second Degree, in violation of Penal Law §240.30(1)(a),
stalking in the Fourth Degree, in violation of Penal Law §120.45(2), and Harassment in the
Second Degree, in violation of Penal Law §240.26(3). On March 10, 2014, she accepted an
adjournment in contemplation of dismissal (“ACD”). Upon the expiration of the ACD on
March 9, 2015, the matter was dismissed and sealed. Defendant now petitions for a writ
of error coram nobis, seeking to vacate the ACD. For the reasons discussed below, the
Court DENIES the motion to vacate the ACD.

J. FACTUAL BACKGROUND

A. The Allegations

According to the amended Superseding Information, filed on August 19, 2013,
defendant directed numerous telephone calls, emails and Facebook messages to the

complainant, with whom she had been in a intimate relationship, despite his request that
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she cease all communication with him. Defendant also went to the complainant’s
apartment building in New York City, and tried to be let up to his apartment.
B. Legal Proceedings

On July 2, 2013, defendant was arraigned on a misdemeanor complaint charging her
with Stalking in the Third Degree, in violation of Penal Law §120.50(3), Aggravated
Harassment in the Second Degree, in violation of Penal Law §240.30(1)(a), two counts of
Stalking in the Fourth Degree, in violation of Penal Law §120.45(1) and (2), and Harassment
in the Second Degree, in violation of Penal Law §240.26(3). Bail was set, and the case was
adjourned to July 5, 2013 for conversion, specifically a supporting deposition from the
complainant.

On August 19, 2013, the People filed a Superseding Information, sworn out by the
complainant, charging the defendant with Menacing in the Second Degree, in violation of
Penal Law §120.14(2), Stalking in the Third Degree, in violation of Penal Law §120.50(3),
Aggravated Harassment in the Second Degree, in violation of Penal Law §240.30(1)(a),
Stalking in the Fourth Degree, in violation of Penal Law §120.45(2), and Harassment in the
Second Degree, in violation of Penal Law §240.26(3).

On March 10, 2014, defendant accepted an ACD. Upon expiration of the ACD on

March 9, 2015, the case was dismissed and sealed.
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Il. DISCUSSION

A. Defendant's Arguments

Defendant petitions for a writ of error coram nobis , seeking to vacate the ACD on
the ground that the complainant committed the offense of unlawful surveillance, and
obtained 1251 naked photos of the defendant, which he then accused the defendant of
sending to him. (Mees Aff. 4). Defendant alleges that the complainant told the police
that defendant harassed him by sending the naked photos, and incited the police to arrest
the defendant based on the photos. (Mees Aff. J 4). The Court would note that the
Superseding Information makes no mention of those photographs, and therefore, those
photographs, if they exist at all, were not the basis for any of the charges.

Defendant also argues that her attorney was ineffective because he did not move to
vacate the ACD in 2014, even though she requested that he do so. (Mees Aff. { 11).

B. Defense Counsel Was not Ineffective

For several reasons, defendant's ineffectiveness claim fails. First, defendant has
failed either to submit an affidavit from the attorney who represented her when she
accepted the ACD, or offer an explanation for her failure to do so. See People v. Morales,
58 N.Y.2d 1008, 1009 (1983) (“Because defendant failed to submit an affidavit from the
attorney who represented him at plea and sentence or offer an explanation of his failure to

do so, it cannot be said that as to defendant's failure to appeal the coram nobis Judge erred
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in denying the application without a hearing.”); People v. Johnson, 292 A.D.2d 284, 285 (1°

Dept. 2002).

Furthermore, the defendant received “meaningful representation.” People v.

Benevento, 91 N.Y.2d 708, 712 (1998). Defense counsel procured an advantageous

 

disposition for the defendant that avoided exposing her to a criminal record - with all of
its attendant collateral consequences - and a potential jail sentence for a class A
misdemeanor. Defendant has not “convince[d] the Court that a rejection of the [ACD] and
exposure to a potentially lengthy prison sentence on [an A misdemeanor], if convicted after
trial, ... would have been rational.” People v. Rigg, 27 Misc.3d 1231(A) *4 (County Ct.

Sullivan County 2010), see also People v. Valestil, 27 Misc.3d 1234(A) *3 (Crim. Ct. Kings

 

County 2010).
C. Writ of Error Coram Nobis is Unavailable in this Case

In any event, coram nobis relief is unavailable in this case. “The codification of
criminal procedures in this State subsumed most of the common-law post-conviction
collateral remedies under CPL 440.10, but the Legislature did not expressly abolish the
common-law writ of coram nobis or necessarily embrace all of its prior or unanticipated

functions with CPL 440.10. “ People v. Bachert, 69 N.Y.2d 593, 599 (1987), see also People

 

v. Andrews, 23 NY3d 605, 611 (2014); Peter Preiser, 2010 Practice Commentary, McKinney’s

 

Cons Laws of NY, CPL 440.10. As such, a writ of error coram nobis is unavailable in

situations covered by CPL 440.10, id., and a prerequisite to its availability is that a
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conviction has been entered against the defendant. People v. Dionisiou, 24 Misc.2d 338, 340
(Court of General Sessions, New York County 1960); People v. King, 2 Misc.2d 187, 188

(County Court, Sullivan County 1954).

Here, a conviction was not entered against the defendant. A conviction “means the

| entry of a plea of guilty to, or a verdict of guilty upon, an accusatory instrument other than

a felony complaint, or to one or more counts of such instrument.” CPL §1.20(13). An ACD

is not a conviction or an admission of guilt. CPL §170.55(8). As such, the remedy of coram
nobis is unavailable in this case.

D. ACD cannot be vacated

Even if coram nobis relief were available here absent a conviction, the motion would
still be denied. After the expiration of the adjournment period, the matter was dismissed
and sealed by the Court in the furtherance of justice. CPL §§170.55(2); 160.50(3)(b). The
arrest and prosecution are, therefore, deemed a nullity. CPL §170.55(8). “The Court is
without the authority to grant the motion since the matter was dismissed and sealed back
in [2015]. .. . [T]here is nothing to reopen.” People v. Anonymous, 34 Misc3d 1231(A) *2
(Troy City Court 2012).

C. Conclusion

For the foregoing reasons, the defendant’s motion to vacate the ACD via a writ of

error coram nobis is denied.
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II. CONCLUSION

The defendant's petition for a writ of error coram nobis is denied.. Defendant's
request for oral argument is also denied.

This constitutes the Decision and Order of the Court.

 

Dated: July 2, 2018
New York, New York Steven M. Statsinger
Judge of the Criminal Court

 
